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                        EXHIBIT 4
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                           IN THE UNITED STATES BANKRUPTCY COURT                        United States Bankruptcy Court
                             FOR THE SOUTHERN DISTRICT OF TEXAS                             Southern District of Texas

                                      HOUSTON DIVISION                                         ENTERED
                                                                                           December 02, 2024
 IN RE:                                                  §                                  Nathan Ochsner, Clerk
                                                         §
 OUT OF DISTRICT MAIN CASE                               §       CHAPTER 11
                                                         §
                                                         §
                                                         §
                                                         §
 Mokaram-Latif West Loop, Ltd., et al,
                                                         §
                                                         §
            Plaintiff,
                                                         §
                                                         §
 VS.                                                             ADVERSARY NO. 24-3224 and
                                                         §
                                                         §       ADVERSARY NO. 24-3225
     Ali Choudhri, et al                                 §
                                                         §
             Defendant.

                           ORDER REMANDING ADVERSARY PROCEEDING

         For the reasons set forth on the record on this date, the Court orders:

1.     Adversary proceeding 24-3224 is remanded to the 333rd Judicial District Court of Harris County,
Texas.

2.     Adversary proceeding 24-3225 is remanded to the 333rd Judicial District Court of Harris County,
Texas.

3.       The Court respectfully requests that Judge Robinson determines whether the automatic stay
applies to either remanded adversary proceeding. Although presented to this Court, the Court abstains in
favor of Judge Robinson with respect to that determination. The Court notes that the plaintiffs in the
adversary proceeding have waived notice provisions as to the timing of the filing of a motion respecting
the automatic stay issue to be determined at the already-scheduled December 19, 2024 hearing. This
Court expresses no view on when the hearing should be conducted.

4.       The remand provisions of paragraph 1 and 2 of this order are stayed until:

a.     The date on which Judge Robinson rules on whether the automatic stay applies to the remanded
proceeding, if Judge Robinson rules on that issue prior to January 1, 2025.

b.       January 1, 2025, if no order has been issued by Judge Robinson by that date under paragraph 4(a)
or 4(c) of this Order.

c.       Such date as Judge Robinson orders, if Judge Robinson issues an order further delaying the
effectiveness of this Order.

5.     It is ordered that the remanded proceedings may not be again removed in violation of Bankruptcy
Rule 9027.

Signed:
 1 / 1 December  02,2018
        October 17,  2024

                                                             ____________________________________
                                                                           Marvin Isgur
                                                                 United States Bankruptcy Judge
